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 BDM:KKO
 F. #2017R01840


 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                         X


 UNITED STATES OF AMERICA                         ORDER OF FORFEITURE

             - against -                           18-CR-204(S-2)(NGG)

 KEITH RANIERE,

                           Defendant.




               WHEREAS,on or about June 19,2019, Keith Raniere, also known as

 "Vanguard,""Grandmaster,"and "Master"(the "defendant"), was convicted after ajury trial

 of Counts One, Two,and Six through Ten, of the above-captioned Superseding Indictment,

 charging violations of 18 U.S.C.§§ 1349,1591(a)(1), 1594(a), 1594(b), 1594(c), 1962(c),

 and 1962(d); and

               WHEREAS,the Court has determined that pursuant to 18 U.S.C.§ 1963(a),

 the defendant shall forfeit:(a)any interest the defendant acquired or maintained in violation

 of 18 U.S.C. § 1962;(b)any interest in, security of, claim against or property or contractual

 right ofany kind affording a source ofinfluence over any enterprise which the defendant has

 established, operated, controlled, conducted or participated in the conduct of, in violation of

 18 U.S.C. § 1962;(c)any property constituting, or derived from, any proceeds which the

 defendant obtained, directly or indirectly, from racketeering activity in violation of 18 U.S.C.

 § 1962; and/or(d)substitute assets, pursuant to 18 U.S.C.§ 1963(m), which shall be reduced

 to a forfeiture money judgment(the "Forfeiture Money Judgment").
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                NOW,THEREFORE,IT IS HEREBY ORDERED, ADJUDGED AND

  DECREED as follows:

                1.     The defendant shall forfeit to the United States the Forfeiture Money

  Judgment, pursuant to 18 U.S.C. §§ 1963(a)and 1963(m).

                2.     This Order of Forfeiture ("Order") is entered pursuant to Fed. R. Grim.

 P. 32.2(b)(2)(c), and will be amended pursuant to Fed. R. Grim. P. 32.2(e)(1) when the

  amount ofthe Forfeiture Money Judgment has been calculated.

                3.     All payments made towards the Forfeiture Money Judgment shall be

  made by a money order, or certified and/or official bank check, payable to U.S. Marshals

  Service with the criminal docket number noted on the face ofthe check. The defendant shall

 cause said payment(s)to be sent by overnight mail delivery to Assistant United States

  Attorney Karin K. Orenstein, United States Attorney's Office, Eastern District ofNew York,

 271-A Gadman Plaza East, Brooklyn, New York 11201, with the criminal docket number

  noted on the face ofthe instrument. The Forfeiture Money Judgment shall become due and

  owing in full thirty(30)days after any amendment ofthis Order pursuant to Rule 32.2(e)(1)

 (the "Due Date").

                4.     If the defendant fails to pay any portion ofthe Forfeiture Money

  Judgment on or before the Due Date, the defendant shall forfeit any other property of his up

 to the value ofthe outstanding balance, pursuant to 18 U.S.C. § 1963(m).

                5.     Upon entry ofthis Order, the United States Attorney General or his

  designee is authorized to conduct any proper discovery in accordance with Fed. R. Grim.P.

 32.2(b)(3)and (c). The United States alone shall hold title to the monies paid by the



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  defendant to satisfy the Forfeiture Money Judgment following the Court's entry ofthe
  judgment ofconviction.

                6.       The defendant shall fully assist the government in effectuating the
  payment ofthe Forfeiture Money Judgment.
                7.       The entry and payment ofthe Forfeiture Money Judgment is not to be
  considered a payment ofa fine, penalty,restitution loss amount or a payment ofany income
 taxes that may be due, and shall survive bankruptcy.
                8.     Pursuant to Fed.R. Grim.P.32.2(b)(4)(A) and(B),this Order of
 Forfeiture shall become final as to the defendant at the time ofsentencing and shall be made
 part ofthe sentence and included in the judgment ofconviction. This Order shall become the
 Final Order ofForfeiture, pursuant to Fed. R. Grim.P.32.2(c)(2) and (e)(1). At that time,
 the monies and/or properties paid toward the Forfeiture Money Judgment shall be forfeited to
 the United States for disposition in accordance with the law.
               9.     This Order shall be binding upon the defendant and the successors,
admmistrators, heirs, assigns and transferees ofthe defendant, and shall survive the
bankruptcy ofany ofthem.

               10.    This Order shall be fmal and binding only upon the Court'
                                                                             ''s "so

ordering" ofthe Order.




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                   11.        Court shall retain jurisdiction
                                                                over this action to enforce
     compliance with the terms ofthis Order
                                              and to amend it as necessary, pursuant to Fed.
                                                                                                 R.
    Crim. P. 32.2(e).
    Dated; Brooklyn, New York
           •       Oj^—                    2020
                                                  SO ORDERED:



                                                 EfcNORABLEracHOlSB:^^
                                                  IITED STATES DISTRICT JUDGE
                                                 eastern DISTRICT OF NEW YORK




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